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EXHIBIT D
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In the Matter Of:
ALODIE GOODEN
VS.

BRIDGESTONE AMERICAS TIRE OPERATIONS, LLC.

CHRIS RODWICK
August 14, 2015

Reported By: January Johnstone CSR No. 13748

 

 

 

 

 

 
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ALODIE GOODEN vs. BRIDGESTONE AMERICAS TIRE OPERATIONS, LLC.

Chris Rodwick on 08/14/2015

 

 

 

 

 

 

 

 

 

IN THE UNITED STATES DISTRICT COURT 1 APPEARANCES OF COUNSEL:
FOR THE DISTRICT OF WYOMING 2
Alodie Gooden, as Wrongful Death ) 3 For the Plaintiff, Gina Cubillos:
* 4 E, E &
Representative of the Estate of Tanya ) LENE, MC CORK PILGER
BY: STEPHEN H. KLINE
Gooden and Cameron Gooden, ) 5 Attorney at Law
) 401 West 19th Street, Suite 306
Plaintif£, ) 6 Cheyenne, Wyoming 82003
) (307) 778-7056
vs. ) Civil Action 7 steve@kmplaw.net
8 For the Plaintiff, Alodie Gooden:
} No, 15-ev-45
. . . . 9 THE FITZGERALD LAW FIRM
Bridgestone Americas Tire Operations, LLC; } BY: JAMES E. FITZGERALD
FedEx Ground Package System, Inc., ) 10 Attorney at Law
and John Doe Corporations/Entities 1-3. ) 2108 Warren Avenue
) 11 Cheyenne, Wyoming 82001
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) 12 lawyersefitzgeraldlaw.com
13 For the Defendant,
IN THE UNITED STATES DISTRICT COURT Bridgestone Americas Tire Operations, LLC:
FOR THE DISTRICT OF WYOMING 14
Gina Cubillos, as Wrongful Death ) BROSSEAU BARTLETT SESERMAN, LLC
Representative of the Estate of James Ednie } 25 BY: CHAD M. LIEBERMAN
} Attorney at Law
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) 7 (303) 812-1200
vs. } Civil Action clieberman@bbs-legal.com
) Wo. 15-cv-50 18
Bridgestone Americas Tire Operations, LLC; ) For the Defendant,
FedEx Ground Package System, Inc., } 19 FedEx Ground Package Systems, Inc.
and John Doe Corporations/Entities 1-3. } 20 and deponent, Chris Rodwick:
) MURANE & BOSTWICK, LLC
Defendants. ) 2a BY: LOYD E. SMITH
) Attorney at Law
DEPOSITION OF CHRIS RODWICK 22 508 West 27th Street
Friday, August 14, 2015 Cheyenne, Wyoming 82001
Reported by: 23 (307) 634-7500
les@murane.com
January D. Johnstone 24
CSR No. 13748 25
1
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5 Gooden and Cameron Gooden, ) 5 Examination By MR. FITZGERALD ..............0...0005 126
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10 Defendants. 14 NUMBER DESCRIPTION PAGE
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22 IN THE UNITED STATES DISTRICT COURT Agreement, 35 pages
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14 Gina Cubillos, as Wrongful Death ) 17. «No. 7 Addendum 1, Linehaul Contractor Operating 70
Representative of the Estate of James Ednie ) Agreement, Identification of Lease
15 )
18 Equipment, 5 pages
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17 } No. 15-cv-s0 No. 8 FedEx On the Road Reference Guide for 72
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18 FedEx Ground Package Sy! ve ) (Bates Nos. C&G-FXG-001550 - C&G-FXG-001579)
and John Doe Corporations/Entities 1-3. )
21
19 )
Defendants. } No. 9 Safety Information Guide, 65 pages 72
20 ) 22 (Bates Nos. C&G-FXG-001485 - C&G-FXG-001549)
a1 The deposition of CHRIS RODWICK, taken on 23. No. 10 Driver File for Mr. Kehler, 3 pages 74
22 behalf of the Plaintiffs, before January D. Johnstone, 24 No. 41 Indiana Registration Cab Card, 1 page 104
23 Certified Shorthand Reporter No. 13748, for the State (3 N C&G-FXG-000150)
24 of California, commencing at 9:09 a.m., Friday, August 14, ates No. ~
25 2015, at 2102 Business Center Drive, Irvine, California. 25
2

 

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Chris Rodwick on 08/14/2015

 

 

 

 

2 INDEX (Cont'd) I Friday, August 14, 2015
2 EXHIBITS (Cont'd) . . .
3 NUMBER DESCRIPTION PAGE 2 Irvine, California
4 No. 12 Commerical Tire Invoices, 2 pages 105 .
(Bates Nos. C&G-FXG-000165 - C&G-FXG-000166) 3 9:09 a.m.
5 4 eR OR OK
No. 13 FedEx Driver Qualification File for 109
5 CHRIS RODWICK.,
6 B. Kehlex, 33 pages 2
(Bates Nos. C&G-FXG-001242 - C&G-FXG-001274) 6 was called as a witness, and having been first duly sworn by
7
No. 14 DriveCam, Inc. Driver's Logs, 11 pages li. 7 the Certified Shorthand Reporter, was examined and testified
8 (Bates Nos. C&G-FXG-000064 - C&G-FXG-000073 .
and C&G-FxG-000149) 8 as follows:
9 9
No. 15 Verizon Subpoenaed Records 113
10 10 EXAMINATION
No. 16 Sapp Bros. Invoice, 1 page 116 11 BY MR. KLINE:

12 (Bates No. C&G-FXG-000006) .

12. No. 17 FleetNet Invoice, 1 page uz {12 Q Can you please give us your name and address.

3 (Bates No. C&G CLR 55) 13. A Chris Rodwick. 7691 East Camino Tampico, Anaheim,

No. 18 Sapp Bros. Invoice, 2 pages 128 14 California 92808.
14 (Bates Nos. C&G-FXG-000007 - C&G-FKG-000008) age
>
15 No. 19 Monthly Maintenance Record and Sapp Bros. 120 5 Q Have you ever had your deposition taken before?
Invoice, 3 pages (Bates Nos. C&G-FXG~000173 16 A No, J have not.

16 - C&G-FXG-000175) .

17° No. 20 Maintenance Records, 21 pages a21 «|: 47 Q. lunderstand from a conversation off the record that

te (Bates Nos. C&G-FXG-000088 - C&G-FXG-000108) 18 you are actually here being represented by Loyd Smith; is

No, 22 DDEC Reports - Daily Engine Usage, 10 pages 123 19 that correct?
19 {Bates Nos. C&G-FXG-000235 - C&G-FXG-000244 :
and FEDEX/Cheyenne HA000415 - 20 A That is correct.
20 FEDEX/Cheyenne HA000424) 21 Q. And is CLR your business?
21 No. 22 DDEC Reports - Configuration, 1 page 123
(Bates No. C&G-FXG-000234 and FEDEX/Cheyenne 22 A lam the CEO of CLR.
22 HA000414) 23. Q = Andis CLR also being represented here today by
23 No. 23 Trailer Load Condition Report, 4 pages 124 .
(Bates Nos. C&G-FXG-000009 - 24 Mr. Smith?

24 C&G-FXG-000012)

25 25 A Yes. ;
1 INDEX (Cont'd) 1 Q  Soeven though you've never had a deposition taken
2 EXHIBITS (Cont'd) . .

on efore, you have had the opportunity talk to Mr. Smith abou
2 befe have had th t talk to Mr. Smith about
3. NUMBER DESCRIPTION PAGE 3 what we! ing th h here tod is th 9
4 No. 24 Linehaul Tractor File, 16 pages 224 what we re going throug, ere today; Is at correct?
(Bates Nos. C&G-FXG-000109 - C&G-FXG-000124) 4 A We met yesterday and discussed, yes, what's going to
5 5 happen today, what's going on, yes.
No. 25 Tractor Files, 6 pages 184 6 Do you have any questions about the process here
yq P
6 (Bates Nos. C&G-FXG-000119 - C&G-FXG-000124) 4 today?
7 No. 26 Subpoenaed Maintenance Invoices, 24 pages 455 . .
. ; 8 <A Notat this point.
8 No. 27 FedEx Report of Vehicle Inspection, 174
2 pages 9 Q With that, I'll just indicate to you that I have the
9 (Bates Nos. C&G-FXG-001206 ~ C&G-FXG-001207) 10 ability to ask a question that is very difficult for anyone

10 No. 28 Maps View Color Printouts, 8 pages 175 | 11 to answer. And if that happens, obviously it's important

11 No. 29 Maintenance Records, 77 pages 168 12 that we're communicating,

12 No. 30 Letter from Murane & Bostwick, LLC, dated 168 B J is taki d thi dl d

anuary is taki own everything you an ay, an
7/2/15, including Maintenance Records, yis ng Y ey say,
canes : '

13 64 pages (Bates Nos. C&G CLR 1 - C&G CER 60) 14 so it's important that you answer the question that I'm

14 No. 31 DriveCam, Inc. Driver's Log, 1 page is3. | 15 asking. So if you have a point where you don't understand

(Bates No. C&G-FXG-000062) 16 the question, want me to repeat, whatever, please feel free

5 17 to do that.

16

- 18 <A Okay. .

18 19 Q Can you please give me your educational background?

19 20 <A Igraduated from Cal State Fullerton with a

20 21 bachelor's in business with an emphasis in marketing.

an 22 Q. And what year was that?

22 .

23 23 A '96, I believe.

9

24 24 Q How old are you?

25 25 A Im4s5,

 

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1 A Thereabouts, yes. 1 A That is correct.

2 Q. You purchased it at that point in time why? 2 Q At the end of every round-trip?

3. A Iwas upgrading the trucks that I had -- a truck _ 3. A Notevery round-trip. That's not correct.

4 that I had. I got rid of an older truck and put on somewhat 4 Q Would the truck then be stored at Red Bone Diesel

5 of a newer truck. 5 until the next trip or?

6 Q_ Did you buy each of your trucks used? 6 A No.

7 A Yes. 7 Q. Where would the trucks be stored?

8 Q Let me jump back. Would you use Warner Truck Center| 8 A _ Back at the yard, at FedEx.

9 for any other particular purpose? 9 Q. So these trucks physically are also located at the

10 <A I would for maintenance if there is -- especially 10 FedEx yard?

11 since I had just bought that truck from them. If there's 1A Yes.

12. anything that -- after I drove off, any kind of issues, I 12 Q So let me go back to Warner Truck Center. They

13 would absolutely go back to them and ask them to take a look 13 would not be, typically, who you would do repair work through
14° at it. 14 _ or maintenance work through?

15 Q Does a used truck come with any warranties? 15 A Not typically for maintenance.

16 A They do havea little bit of a warranty, yes. 16 Q How about Sapp Bros.?

17. Q > So you might do some warranty work there? 17. A. Nottypically; just as needed.

18 A Correct. 18 Q Does Red Bone Diesel balance tires?

19 Q How about Sapp Bros.? 19 A Idon't know.

20 <A Sapp Bros., tires and miscellaneous maintenance. 20 MR. KLINE: Take a break.

21. = Q - And how about Commercial Tire? 21 (Break in deposition proceeding from 10:12 a.m.

22 A_ Strictly tires. 22 until 10:21 a.m.)
23 Q So when would you purchase a tire at Sapp Bros. 23 MR. KLINE: Back on the record.
24 rather than at Commercial Tire? 24 BY MR. KLINE:

25 <A It was convenience. Most of the time we try and go 25. Q Who makes the decisions on maintenance for CLR?

41 43

1 to Commercial Tire. But Commercial Tire, if I'm not 1 A Ido.

2 mistaken, couldn't balance the tires. So that's why we took 2 Q. Okay. And at the end of every trip —- realizing

3. the tires to Sapp Bros. to get them balanced. 3 there may be needs in the middle of a trip, but at the end of
4 Q Commercial Tire couldn't balance the tires? Didn't 4 every trip, how do you know what needs to go to

5 have the ability or didn't offer that service? 5 Red Bone Diesel, what needs to go somewhere else, what needs
6 A At that point in time, I don't recall, but I believe 6 to be done?

7 we took it to Sapp Bros. to get it balanced; that's why we 7 A There's two ways. One is verbal communication with

8 took it there. 8 the drivers, if they've noticed anything while they were

9 Q_ How about Red Bone Diesel? 9 driving, or on their pre-trip or post-trip inspections if

10 A _ Red Bone Diesel is directly across the street from 10 they've noticed anything. But then there's also scheduled

11 FedEx. A great company. They do majority of my work. They | 11 maintenance depending on how long the truck has been on the
12 will come over and pick up the truck when the drivers are 12. road. :

13. back, off-duty; take it to their shop; do all the 13. Q Are there certain things that are done on a routine
14 maintenance; do all the inspections; make sure it's in 14 basis?

15 tip-top shape; and then bring it back to the yard. So the 15 A Yes.

16 drivers never even have to intervene. 16 Q_ What are those?

17 Q. Do they do that at the end of each trip for the 17. A__ Lube, oil, and filter roughly every 20,000 miles.

18 truck? 18 And, then, in that routine maintenance, they will inspect the
19 <A Depending on what the truck needs, yes. 19 truck to look from head to toe if there's anything that needs

20 Q_ So Mr. Kehler or another driver would park at the 20 to be addressed.

21 FedEx -- I don't know if the right word is -- "shop"? 21 Q So those are the only things that are done ona

22 A Yeah, yard. 22 cycle?

23 Q Yard -- and leave the truck and somebody from 23 A Well, the lube, oil, and filter, but then there's an

24 Red Bone Diesel comes over and picks it up and does 24 inspection of the truck. They go through and check

25 maintenance; is that correct? 25 everything under the hood, through the chassis, through the

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Chris Rodwick on 08/14/2015

1 assigned to it? 1 you do the round-trip from Salt Lake to Hartford and back

2 A Yes. 2. without stopping?

3  Q = And was Mr. Marks hired on at that point? 3. A Without a companion?

4 A No. They were both hired around the same, at the 4 Q Right.

5 same time. 5 A No.

6 Q Was Mr. Marks - did he ever work for any entity 6 Q And with a companion, they can do it without

7 other than CLR? 7 stopping?

8 <A CBR Transportation. 8 A They will have to stop, but they won't have to take

9 QQ. So they have been a tandem for year and a half? 9 a-- they won't have to lay and stop driving for a period of

10 <A Yes, thereabouts, without looking. 10 time.

il Q. And Mr. Marks, if I understand it, had a different ii Q In other words, the truck will be continually going

12 designation than Mr. Kehler. Am I wrong about that? 12. back and forth?

13 A I'mnot sure I understand. 13. A Yeah. They will have to stop for gas and

14 Q I've seen the word, maybe, "trainee" or? 14 miscellaneous stuff.

15. A No, not that I'm aware of. 15 Q And when you stop for gas, is that called "downtime?

16 Q They were both equally qualified drivers; is that 16 <A No, it's not downtime, no. They're still on duty.

17 correct? 17 Q_ So there's no downtime when you have a tandem. AmI

18 <A Correct. 18 right about that?

19 Q And they were compensated on the same basis; is that'| 19 =A Depends on the run, depends on the situation. There

20 correct? 20 could be delays when they're going to pick up or whatnot, but

21 A. Correct. 21 90 to 95 percent of the time, if not higher, no, there's no

22 Q. And so when 125417 came into existence, they were 22 downtime.

23 both assigned this track? 23 Q And that benefits you. Is that true?

24 A Correct. 24 A I'mnotsure I understand. How?

25 Q . Are they the only two who have ever driven that 25. Q How does CLR make its money? How are you paid by
77 79

1 truck prior to the accident? 1 FedEx?

2 A. | believe so. 2 <A _ Sol get paid based on how many miles the truck

3 Q. And did either of them ever operate solo, or was 3. drives.

4 every run run by both of them together? 4 Q So ifa truck is in continual motion, so to speak,

5 A I'mnota hundred percent positive, but I believe 5 that's better for you, better for CLR?

6 they were always together. I'm not sure if Brian one time 6 A _ It's a double-edged sword.

7 might have made a day run when Steve was on vacation, but I'm | 7 Q What's the other side of the sword?

8 not hundred percent positive. I don't know. I would say 8 A You've also got additional employee pay, additional

9 they were always together, but there might have been one trip 9 gas, and additional maintenance.

10 or two trips sometime throughout the year and a half or two 10 Q Combined, do you pay two people more who are sharing

11 years that he did a day run without Steve there. 11 driving duties to go from Salt Lake to the East Coast and

12 Q. Did you say to me that they were hired at the very 12 back than you would one person?

13 same time? 13. A [don't understand. Do I pay them more?

14 A _ Not together, but they didn't drive for me 14 Q You pay them per mile; right?

15. separately. 15 A Yes,

16 Q Neither of them has ever driven for you separately? | 16 Q And per mile driven?

17. A_ I take that back. No, Brian did get hired before 17 A Correct. |

18 Steve because he did have another driver for about two weeks 18 Q They don't get paid for being in the sleeper.

19 ora month prior to Steve. Two weeks, I think. 19 A Yes, they do.

20 Q . And this is the only tandem group that you have? 20. Q Okay. How does that work?

2] A. That is correct. 21 <A They get paid the total miles for the truck. So

22 Q. And the benefit to that is that they can make the 22 even though their per mile rate is less than a solo driver,

23. run more quickly? Or am I wrong about that? 23 they get the pay for the entire miles put on the truck.

24 A Yeah, not more quickly. Speed limits are the same. 24 Q So what's the distance between Salt Lake and

25 Q. If there was not a companion driver with you, could | 25 Hartford and back?
78 80

 

 

 

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I FURTHER EXAMINATION + PENALTY OF PERJURY
2 BY MR. KLINE: 2 see
3 Q Doyou get a 1099 from FedEx? >
4 A Yes. ‘
5 Q. And you file tax returns? :
6 A That's correct. 7 I, CHRIS RODWICK, do hereby declare under
7 Q And you file them, I think you said, as a C corp? 8 penalty of perjury that I have read the foregoing
8 A Yes, correct. 9 transcript; that I have made any corrections as appear
9 Q Can I access the FedEx portal that you utilize to 10 noted, in ink, initialed by me, or attached hereto; that
10 purchase the uniforms, or do I have to be someone with a | 11 my testimony as contained herein, as corrected, is true
W relationship? 12 and correct. ‘
12. A  Youhave to be someone with a relationship to FedEx, | 13
13, yes. 14 EXECUTED this day of ,
14 Q Finally, when you do the pre-trip and post-trip 35 20__, at '
15 inspection, is there anywhere where the inflation level of a (city) (state)
16 tire is noted? *
17. A Not the actual inflation level. "7
18 Q. So there's no way, from the records, to verify .
19 whether somebody has even done it pre-trip or post-trip? |, -
20 <A The inflation levels -- I'm not a hundred percent 21
21 positive. CHRIS RODWICK
22 MR. KLINE: Okay. Thank you. 22
23 MR. SMITH: We're done. 23
24 THE REPORTER: Does everyone need a copy of this? | 24
25 MR. KLINE: Yes. I'd like an electronic and copies 25

197 199
1 of the exhibits. 1 CERTIFICATE OF CERTIFIED SHORTHAND REPORTER
2 MR. LIEBERMAN: Yes. 2 ~ soe *
3 MR. SMITH: Yes. 3
4 THE REPORTER: And, Mr. Fitzgerald, you as well? | * 7, the undexsigned, a Certified Shorthand
5 MR. FITZGERALD: Yes. 5 Reporter of the State of California, do hereby certify:
6 (Whereupon, the deposition of Chris Rodwick . That the foregoing deposition was taken
7 concluded at 4:44 p.m.) 7 before me at the time and place herein set forth; that

8 any witnesses in the foregoing deposition, prior to
8 -000-
9 testifying, were duly sworn by me.

9 10 That a record of the testimony and all objections
10 1. at the time of the deposition were made by me using machine
ll 12 shorthand which was thereafter transcribed under my
12 13 direction; that the foregoing transcript is a true and
13 14 correct record of the proceedings thereof.
14 15 I further certify I am neither financially
15 16 interested in the action, nor a relative or employee of
16 17 any attorney or paxty to this action,
17 18 I declare under penalty of perjury that the
18 19 foregoing is true and correct.
19 20 Signed and dated this August 26, 2015.
20 22
21 22
22 23
23
24 24 JANUARY D. JOHNSTONE, CSR No. 13748
25 25

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